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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

JASON RATCLIFF, et al.,

            Plaintiffs,                                          Case No. 1:05-cv-582

vs.                                                              Spiegel, J.
                                                                 Black, M.J.
ERNIE MOORE, et al.,

            Defendants.

 REPORT AND RECOMMENDATION1 THAT PLAINTIFF’S MOTION FOR A
          MANDATORY INJUNCTION (Doc. 42) BE DENIED.

            Plaintiff, an inmate at Lebanon Correctional Institution, brings this action claiming

that defendants violated his rights under the First and Fourteenth Amendments. This civil

action is now before the Court upon plaintiff’s motion for injunction (doc. 42) to which

defendants have not responded.

            Plaintiff seeks an injunction against defendants due to their alleged “failure to

respond to plaintiff’s notice of lawsuit and request for waiver of services of summons,

and return the signed waiver of service of summons within thirty days after the date

designated on the Notice and Request was sent.” (Doc. 42).

            In determining whether to issue a preliminary injunction, this Court must balance

the following factors:

            1.       Whether the party seeking the injunction has shown a“strong” likelihood of
                     success on the merits;



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          Attached hereto is a NOTICE to the parties regarding objections to this Report and Recommendation.
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       2.     Whether the party seeking the injunction will suffer irreparable harm absent
              the injunction;

       3.     Whether an injunction will cause others to suffer substantial harm; and

       4.     Whether the public interest would be served by a preliminary injunction.

Leary v. Daeschner, 228 F.3d 729, 736 (6th Cir. 2000); United Food & Commercial

Workers Union, Local 1099 v. Southwest Ohio Regional Transit Authority, 163 F.3d 341,

347 (6th Cir. 1998); Southern Milk Sales, Inc. v. Martin, 924 F.2d 98, 103 n.3 (6th Cir.

1991). The four factors are not prerequisites, but must be balanced as part of a decision

to grant or deny injunctive relief. Leary,228 F.3d at 736; Performance Unlimited v.

Quester Publishers, Inc., 52 F.3d 1373, 1381 (6th Cir. 1995). A preliminary injunction is

an extraordinary remedy that should only be granted if the movant carries his burden of

proving that the circumstances clearly demand it. Leary, 228 F.3d at 739.

       This Court finds that plaintiff has not alleged facts sufficient to warrant a

preliminary injunction. Plaintiff has made no attempt to apply the above factors to his

situation, he has not alleged facts indicating a substantial likelihood of success on the

merits of his constitutional claims, and he has not alleged facts showing that he will suffer

irreparable harm absent a preliminary injunction. In the event plaintiff succeeds on the

merits of his claims, equitable relief is available to correct any constitutional deficiencies

in the conditions of plaintiff’s confinement.

       Moreover, at the time this motion was filed, there is no evidence of record that

Plaintiffs properly served Defendants with the summons and complaint (i.e., no returned


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executed summons have been filed with the Court in accordance with S.D.Ohio Civ. R.

4.2). Thereafter, on December 8, 2006, the Clerk reissued the summons in this matter

and, summons were returned executed on May 15, 2007. (Docs. 44, 51). Thus, the

undersigned finds that plaintiff’s motion was filed prematurely.

       Accordingly, it is therefore RECOMMENDED plaintiff’s motion for injunction

(doc. 42) be DENIED.



Date: August 24, 2007                              s/Timothy S. Black
                                                  Timothy S. Black
                                                  United States Magistrate Judge




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                       UNITED STATES DISTRICT COURT
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JASON RATCLIFF, et al.,

      Plaintiffs,                                Case No. 1:05-cv-582

vs.                                              Spiegel, J.
                                                 Black, M.J.
ERNIE MOORE, et al.,

      Defendants.

                                         NOTICE


      Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written

objections to this Report and Recommendation within TEN DAYS after the date this

Report and Recommendation is stamped “filed” by the Clerk of Court. This period may

be extended by the Court on timely motion by either side for an extension of time. All

objections shall specify the portion(s) of the Report and Recommendation objected to,

and shall be accompanied by a memorandum of law in support of the objections. A party

may respond to an opponent’s objections within TEN DAYS after being served with a

copy those objections. Failure to make objections in accordance with this procedure may

forfeit rights on appeal. See Thomas v. Arn, 474 U.S. 140 (1985); United States v.

Walters, 638 F.2d 947 (6th Cir. 1981).




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